  Case: 1:18-cv-01459 Document #: 10 Filed: 03/06/18 Page 1 of 1 PageID #:87


                        IN THE UNITED STATES DISTRICT COURT FOR
                           THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Cynergy Data LLC




              Plaintiff(s),
                                                  Case Number: 18-cv-1459
   v.


BMO Harris Bank N.A.                              Judge John Z. Lee




             Defendant(s).

                  Certification by Attorney Regarding Discovery Obligations
                       Under Mandatory Initial Discovery Pilot Project

        As an attorney appearing in this case, I hereby e           h      h e e d he       ou

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each attorney appearing on eha f o          n      to fi e this certification within   days after

the fi ing of the omp aint and each attorney appearing on eha f o         e end n      to fi e this
certification with the Answer


/s/ Todd H. Flaming                                March 6, 2018




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